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Fll.£b .._.. D.C.

|N THE UNiTED STATES D|STR|CT COURT BW

FOR THE WESTERN D|STRlCT OF TENNESSEE ;
WESTERN D|V|S|ON 05 JUL 22 PH h 06

 

U.Ei"i( U.S. Di$iWCTthH
UN|TED STATES OF AMER|CA Wib@?ii\i. irde
Plaintiff
VS.
CR. NO. 04-20464-D
TRlDEANA CONNER
Defendant.

 

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AND §M

 

This cause came on for a report date on Ju|y 21, 2005. At that time, counsel forthe
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of 'l'hursdag¢l September 22, 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor
of the Federal Buiidingl Nlemphis, TN.

 

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT is so oRDERED this ,?J day of July, 2005.

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RN|CE B. D/ONALD
UN|TED STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:04-CR-20464 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

Memphis7 TN 38105

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

HoWard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

